JEFFERSON PARISH SHERIFF’S OFFICE
CRIMINAL INVESTIGATIONS BUREAU

Economic Crimes Section

INCIDENT NOTIFICATION
To: Deputy Chief Dax Russo

From: Detective Andrew Bartholomew
Economic Crimes Section

Current Date: 07/20/2022

Incident:

Item #: F-21850-22

Signal(s): RS 14:67/14:71.1

Date and Time of Offense: 06/22/22-06/23/22

Location of occurrence: 2019 Metairie Rd.
Metairie

Rep Area: 1313

Victim(s): Second Act

2019 Metairie Rd.

Property Stolen: Black Chanel purse- $5,241.60
Brown Louis Vuitton purse- $3,057.60

Red Chanel purse- $4,586.40

Suspect(s): Randal Quran Reid (B/M, DOB: 02/09/1994)
5094 Panola Mill Dr., Lithonia, GA

Ashton Malik Johnson (B/M, DOB: 02/22/1999)
4419 Werner Dr., New Orleans, LA

Armando Jacob Williams (B/M, DOB: 03/23/2001)
3339 Bruxelles St., New Orleans, LA

(1) Unknown Black Male

This is not a report but notification based on general information which may be incomplete and subject to change as the result of the
investigation and analysis of evidence continues.
PLAINTIFF’S

EXHIBIT 1

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Case Detective: Detective Andrew Bartholomew
Economic Crimes Section

Narrative:

On July 6, 2022, Detective Bartholomew of the Criminal Investigations Bureau-
Economic Crimes Section was assigned the follow-up investigation of a theft.

On June 30, 2022, the victim and storeowner of Second Act consignment store
(2019 Metairie Rd.), Pamela Baldassaro, reported that on June 22, 2022, at approximately
1630 hours, two unknown black males entered her store and selected a black Chanel purse
for $5,241.60 and a brown Louis Vuitton purse for $3,057.60. These items were purchased
by one of the suspects manually entering a MasterCard number ending in 6002. On June
23, 2022, at approximately 1650 hours, a different pair of two unknown black males
entered her store and purchased a red Chanel purse for $4,586.40. This item was also
purchased by one of the suspects manually entering a MasterCard number ending in 6002.
These charges were later disputed and Second Act suffered a monetary loss.

Detective Andrew Bartholomew was assigned the investigation. Detective
Bartholomew reviewed the surveillance video and was able to utilize still photographs
from the video to identify three of the four suspects. These subjects were positively
:dentified as Ashton Malik Johnson (B/M, DOB: 02/22/1999), Randal Quran Reid (B/M,
DOB: 02/09/1994), and Armando Jacob Williams (B/M, DOB: 03/23/2001). Detective
Bartholomew obtained arrest warrants for these suspects and is continually attempting to

identify the fourth suspect.

To date, these suspects have not been located, but Detective Bartholomew will seek
assistance with locating them from the law enforcement agencies where the suspects

reside.

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